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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

ENRIQUE ZAMARRIPA
a Natural Person and Resident of Texas,

                            Plaintiff,

           v.


LOUIS FARRAKHAN,
a Natural Person, and Minister and Leader of
Nation of Islam
7351 South Stony Island Avenue
Chicago, Illinois 60649

                    and

NATION OF ISLAM
7351 South Stony Island Ave.
Chicago, IL, 60649                                      COMPLAINT

                    and

REVEREND AL SHARPTON,
a Natural Person, and founder and President of
the National Action Network
106 W. 145th Street
Harlem, New York 10039

                   and

NATIONAL ACTION NETWORK,
106 W. 145th Street
Harlem, NY, 10039

                  and

BLACK LIVES MATTER,
Maryland

                  and

RASHAD TURNER,
a Natural Person, and co-founder and leader of
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the Black Lives Matter movement and
#blackLivesMatter network
Minnesota
                   and

OPAL TOMETI,
a Natural Person, and co-founder and leader of
the Black Lives Matter movement and
#blackLivesMatter network
New York
                    and

PATRISSE CULLORS,
a Natural Person, and co-founder and leader of
the Black Lives Matter movement and
#blackLivesMatter network
California
                    and

ALICIA GARZA,
a Natural Person, and co-founder and leader of
the Black Lives Matter movement and
#blackLivesMatter network
California

                   and

DERAY MCKESSON,
a Natural Person, and co-founder and leader of
the Black Lives Matter movement and
#blackLivesMatter network
Maryland
                    and

JOHNETTA ELZIE,
a Natural Person, and co-founder and leader of
the Black Lives Matter movement and
#blackLivesMatter network
Missouri

                   and

NEW BLACK PANTHERS PARTY
Maryland

                   and



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MALIK ZULU SHABAZZ,
a Natural Person, and leader of
the New Black Panthers Party
Washington, D.C.

                     and

GEORGE SOROS,
a Natural Person and financier of the
Black Lives Matter movement
New York


                                  Defendants.




                                         COMPLAINT

       In this Compliant, Plaintiff Enrique Zamarripa (“Plaintiff”) sues Defendants Louis

Farrakhan, Nation of Islam, Al Sharpton, National Action Network, Black Lives Matter, Rashad

Turner, Opal Tometi, Patrisse Cullors, Alicia Garza, Johnetta Elzie, Deray McKesson, New

Black Panthers Party, Malik Zulu Shabazz, and George Soros (collectively “Defendants” unless

individually named) in their individual and official capacities where applicable, and in support

allege as follows:

I.      INTRODUCTION AND NATURE OF THE ACTION

       1.      This is a civil action for the wrongful death of Patrick Zamarripa, the Dallas

police officer who was murdered by Micah Johnson during the July 7 shootings in Dallas, Texas,

who was acting as an agent of and at and under the direction of Defendants Louis Farrakhan,

Nation of Islam, New Black Panthers Party, Black Lives Matter and their respective leaders, Al

Sharpton, National Action Network and financed by Defendant George Soros. Plaintiff is the




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father of Patrick Zamarripa. Plaintiff also bring a claim of Intentional Infliction of Emotion

Distress against each and every Defendant.

II.        JURISDICTION AND VENUE

         2.      This Court also has subject matter jurisdiction over this action based on diversity

of citizenship pursuant to 28 U.S.C. § 1332(a)(2), because there is complete diversity of

citizenship between the Plaintiff and the Defendants.

      3.   On information and belief, the citizenship of the Defendants are:

                 a.   Louis Farrakhan, Illinois

                 b.   Nation of Islam, Illinois

                 c.   Al Sharpton, Harlem, New York

                 d.   National Action Network, New York

                 e.   Black Lives Matter, Maryland

                 f.   Mr. Rashad Turner, Minnesota

                 g.   Ms. Opal Tometi, New York

                 h.   Ms. Patrisse Cullors, California

                 i.   Ms. Alicia Garza, California

                 j.   Ms. Johnetta Elzie, Missouri

                 k.   Mr. DeRay McKesson, Maryland

                 l.   Mr. Malik Zulu Shabazz, Washington, D.C.

                 m.   New Black Panther Party, Maryland

                 n.   Mr. George Soros, New York

         4.      The matter in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.




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       5.        This Court also has supplemental jurisdiction over this action pursuant to 28

U.S.C. § 1367.

       6.        Venue is proper in this district pursuant to 18 U.S.C. § 2334(a) and 28 U.S.C. §§

1391(b) and 1391(d) because harm from the conspiracy and incitement occurred in this District

in Dallas, Texas, when twelve police officers were shot, five dead at this writing, within this

District on July 7, 2016.

III.     STANDING AND THE INDIVIDUAL PLAINTIFF PARTIES

       7.        Enrique Zamarripa (“Zamarripa”) is the father of Patrick Zamarripa, who was

murdered by Defendants Farrakhan, Nation of Islam (“NOI”) and New Black Panther Party

(“NBPP”) follower Micah Johnson (“Johnson”) on July 7, 2016. Patrick Zammaripa was one of

five officers who were murdered by Johnson during the Dallas tragedy, which was carried out by

Johnson in furtherance of, and under direction from, Defendants Louis Farrakhan (“Farrakhan”),

NOI, Malik Zulu Shabazz (“Shabazz”), NBPP, Al Sharpton (“Sharpton”), National Action

Network (“NAN”) and the Black Lives Matter movement and its leaders (“BLM Defendants”),

and financed by Defendant George Soros.

IV.      FACTS COMMON TO ALL COUNTS

       8.        By the acts alleged herein, Defendants, each and every one of them, have incited

committed unlawful acts including violent riots, assaults and murders of police, and acts of

violence, including seriously bodily injury or death, against police officers and other law

enforcement persons of all races and ethnicities, Jews, and Caucasians. In a classic form of

illegal incitement to imminent violence of an angry mob, Defendants, acting in concert, and each

and every one of them are inciting the imminent serious bodily injury and killing of police

officers and other law enforcement persons of all races and ethnicities, Jews, and Caucasians by




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convincing their supporters and others that there is a civil war between blacks and law

enforcement, thereby calling for immediate violence and severe bodily injury or death.

Defendants incite people to violence and cause violence by telling those people that they are

under attack. Defendants are encouraging disaffected blacks to ignore, disrespect, and assault

law enforcement officials, and commit violence and lethal force.

       9.      The Defendants acting in concert and each of them have publicly called for and

incited people to violence with the fiction that police officers (including many black and

minority police officers) are intentionally and systematically targeting and hunting blacks and

other minorities to kill them for no reason other than racism or sport.

       10.     The Defendants acting in concert and each of them have publicly incited people

with the fiction that police officers (including many black and minority police officers) are

intentionally and knowingly arresting and prosecuting blacks and other minorities who have not

committed a crime.

       11.     The Defendants acting in concert and each of them have publicly incited people to

violence against the Plaintiff and other members of the class herein with the fiction that blacks

and other minorities are being arrested and prosecuted disproportionately to the crimes that

individual arrestees actually committed.

       12.     As a direct and proximate result of Defendants’ race war against police officers

and law enforcement persons of all races and ethnicity, Jews, and Caucasians, intimidating and

threatening law enforcement from doing their duties, more than 30 major U.S. cities have

reported increases in violence from a year ago.1



1
  Monica Davey & Mitch Smithaugh, “Murder Rates Rising Sharply in Many U.S. Cities,” The New
York Times, August 31, 2015, available at http://www.nytimes.com/2015/09/01/us/murder-rates-rising-
sharply-in-many-us-cities.html/


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         13.     “The equilibrium has changed between police and offenders,” said Alfred

Blumstein, a professor and a criminologist at Heinz College, Carnegie Mellon University.2

         14.     As even The New York Times must reluctantly concede, “Among some experts

and rank-and-file officers, the notion that less aggressive policing has emboldened criminals —

known as the “Ferguson effect” in some circles — is a popular theory for the uptick in

violence.”3

         15.     Murders in the City of Baltimore have soared by 56% over the last year as a direct

and proximate consequence of the Defendants’ political war on police, intimidating and

threatening police with prosecution for doing their jobs, encouraging criminals that the police are

being restrained and held back from enforcing the law, and inciting criminals with

rationalizations, pretexts, and excuses for their looting, crimes, and murder in the name of the

grievances spread by the Defendants.

         16.     Milwaukee, Wisconsin, experienced a 76 percent increase in murder over the

same period last year, with 104 people killed so far this year.

         17.     In St. Louis, Missouri, 136 people had been killed this year, a 60 percent rise from

the 85 murders the city had during the same time last year.

         18.     In New Orleans, 120 people have been killed by late August, 2015, compared

with 98 during the same period a year ago.

         19.     In Washington, D.C., murders totaled 105, compared with 73 people a year ago.

         20.     In New York, New York, killings have increased by about 9 percent, to 208

through mid-August from 190 a year earlier. Homicides in Chicago are up about 20 percent over

the same period a year ago.


2
    Id.
3
    Id. (Emphasis added.)


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       21.     When no police officers were indicted in the death of Eric Garner in New York

City, the Mayor of New York City, William de Blasio, stigmatized and defamed his own New

York City’s police department as racists and bullies who need to be reigned in and retrained, thus

justifying and excuses the violent attacks upon police officers.

       22.     By the Defendants always condemning injury or death of black people, but almost

never white people, Defendants send the clear signal that it is acceptable to kill white people,

especially white police officers.

       23.     The War on the Police is directly endangering the public safety of all Americans,

but particularly placing in danger law enforcement, members of the legal system, judges,

prosecutors, and lawyers:

               The number of uniformed officers in the mid-Atlantic city
               [Baltimore, Maryland] fell 6.1 percent last year and has shrunk by
               even more in the first half of this year, according to police data
               seen by Reuters and not previously reported.

               The fall in 2015 was the biggest decline in police numbers among
               nine comparably-sized U.S. cities reviewed by Reuters. The police
               force in Detroit and El Paso shrank by 4.9 percent and 4.3 percent,
               respectively, while Denver and Las Vegas saw increases of over 5
               percent.

               The reasons for the fall are unclear, but it comes at a difficult time
               when the number of murders and other violent crimes have risen
               sharply in Baltimore and many other U.S. cities. 4

       24.     On July 7, 2016, President Obama accused the U.S. legal system -- presumably

including this Court -- of a conspiracy to kill Black men. In his statement he said:

               "What's clear is that these fatal shootings are not isolated
               incidents. They are symptomatic of the broader challenges within
               our criminal justice system, the racial disparities that appear across
               the system year after year, and the resulting lack of trust that exists


4
  Scott Malone, "Baltimore Saw Steep Fall in Police Numbers as Murder Rate Soared," Reuters, July 7,
2016, accessible at: http://www.reuters.com/article/us-baltimore-police-hiring-insight-idUSKCN0ZN0BF


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                between law enforcement and too many of the communities they
                serve." 5

        25.     Clearly, the accusation that shootings "are not an isolated incident" is an

incitement claiming that there is a knowing, intentional related and connected conspiracy -- "not

isolated incidents" -- to intentionally murder Black people.

        26.     On August 28, 2015, in Cypress, Texas, in Harris County, black gunman Shannon

J. Miles (“Miles”) approached Deputy Darren Goforth (a 10-year veteran of the Harris County

Sheriff’s Office) from behind and killed him execution-style as he was pumping gas at a

Chevron gas station. 6 Officials found 15 shell-casings at the scene,7 indicating that Miles had

fired 15 shots at Deputy Goforth. As reported, Deputy Goforth never drew nor fired his weapon.

        27.     Investigators found no provocation that might have set off the attack nor any

connection or relationship between Deputy Goforth and his assassin Miles, leading together with

the setting at a gas station and circumstances to the conclusion that Miles assassinated Goforth

purely because Goforth was a law enforcement officer.




5
  Leonard Greene, "President Obama gives voice to police brutality victims after Alton Sterling, Philando
Castile shootings," New York Daily News, accessible at:
http://www.nydailynews.com/news/politics/president-obama-voice-police-brutality-victims-article-
1.2703404 (emphasis added).
6
        Manny Fernandez and David Montgomery, "Texas Deputy Killed ‘Because He Wore a
Uniform,’ Sheriff Says," The New York Times, August 29, 2015, accessible at:
http://www.nytimes.com/2015/08/30/us/shooting-of-texas-deputy-is-called-coldblooded-
execution.html?_r=0
7
        Emily Shapiro, "Suspect Allegedly Unloaded His Entire Pistol in Texas Deputy," ABC
News / Good Morning America, August 31, 2015, accessible at:
http://abcnews.go.com/US/suspect-allegedly-unloaded-entire-pistol-texas-
deputy/story?id=33430131


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       28.     At a news conference, Harris County Sheriff Ron Hickman said that Deputy

Goforth “was a target because he wore a uniform,” as Deputy Goforth had no previous contact

with the suspect.8

       29.     Harris County Sheriff Ron Hickman and Harris County District Attorney Devon

Anderson pushed back against the criticism of police, as Hickman stated “We've heard Black

Lives Matter, All Lives Matter. Well, cops’ lives matter, too.”9

       30.     Officials investigating the execution have tied the attack by Miles to the wave of

protests across the country over police shootings, including the demonstrations after the deaths of

Michael Brown and Eric Garner.10

       31.     Similarly, on September 1, 2015, only a few days after the murder of Goforth,

Police Officer Joseph Gliniewicz was shot and killed in Fox Lake, Illinois, 11 prompting a

manhunt for his two killers still underway at this writing.

       32.     The inevitable, entirely foreseeable, and predictable result directly and

proximately caused by the War on Police incited by each and ever Defendants came to a head on

July 7, 2016 in Dallas, Texas. At around 9:00 p.m., on July 7, 2016, at a "Black Live Matters"

protest, at least one sniper shot twelve (12) police officers who were on duty to keep the peace at

the rally. (“Dallas Police Shooting”).



8
        "Texas Deputy Killed ‘Because He Wore a Uniform,’ Sheriff Says," The New York
Times, August 29, 2015, supra.
9
        “Sheriff links "Black Lives Matter" movement to slain deputy,” CBS News, August 31,
2015, 9:52 accessible at: http://www.cbsnews.com/news/darren-goforth-killing-sheriff-cites-
black-lives-matter-movement/
10
        , "Texas Deputy Killed ‘Because He Wore a Uniform,’ Sheriff Says," The New York
Times, August 29, 2015, supra.
11
        ”'Blue and Brave': Illinois town rallies around police as search for officer's killer goes
on,” Fox News, September 02, 2015, accessible at:
http://www.foxnews.com/us/2015/09/01/manhunt-on-for-gunman-after-cop-reportedly-killed-in-
chicago/


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           33.     Of the twelve (12) police officers who were shot during the Dallas Police

Shooting, five (5) were killed. Among the officers killed in the Dallas Police Shooting was

Patrick Zamarripa, who was the son of Plaintiff Zamarripa.

           34.     The perpetrator of the Dallas Police Shooting Micah Johnson (“Johnson”) took

position in a parking garage high above the protest so that he could pick off the police officers

from a high angle and altitude without hitting anyone else in the parade but police officers. As

the Washington Post reported:

                   Videos circulating on social media showed an individual with an
                   assault-style rifle shoot a police officer in the back at point-blank
                   range.

                   A gunman, believed to be the same shooter, then engaged in a
                   violent, three-hour standoff with SWAT officers, police said.
                   Brown said the attacker was killed when police detonated an
                   explosive device near him after a hostage negotiator spoke with
                   him.

                   During this standoff, Brown said the suspect, who was not
                   identified, told police that “he was upset about Black Lives
                   Matter” and angered by the recent police shootings in Louisiana
                   and Minnesota that dominated national news this week.

                   “He said he was upset about the recent police shootings,” Brown
                   said during a Friday morning news conference. “The suspect said
                   he was upset at white people. The suspect stated he wanted to kill
                   white people, especially white officers.”

                   Dallas Mayor Mike Rawlings told CBS News that in addition to
                   the dozen officers shot, two other people also wounded by gunfire,
                   though their conditions were not immediately known.

                   “No words to describe the atrocity that happened to our city,”
                   Brown said. “All I know is this must stop, this divisiveness
                   between our police and our citizens.” 12




12
     Id.


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        35.     According to The Washington Post "The Dallas police chief said [Johnson] told

authorities 'he was upset about the recent police shootings' and 'wanted to kill white people,

especially white officers.'”13

        36.     Thus, Johnson systematically and intentionally picked off 12 police officers while

largely ignoring the rest of the crowd who were not police.

        37.     The Daily Caller similarly reported the statements by Johnson:

                Dallas police chief David Brown announced at a press conference
                Friday morning that one of the suspects in Thursday night’s sniper
                attacks that left five officers dead and seven others wounded told
                authorities his motivation for the shooting was that he was “upset
                about Black Lives Matter” and “wanted to kill white people,”
                especially white police officers.

                “The suspect said, he was upset about Black Lives Matter. He said,
                he was upset about the recent police shootings. The suspect said he
                was upset at white people. The suspect said he wanted to kill white
                people, especially white officers. The suspect stated that we will
                eventually find the IEDs,” Brown said. “The suspect stated that he
                was not affiliated with any groups and he stated that he did this
                alone.” 14

        38.     The Guardian further reported:

                The shooting marked the deadliest attack on law enforcement
                officers since 9/11 and threatened to inject yet more tension into
                the already divisive debate over racial disparities in US policing.15

        39.     Investigation into Johnson’s background revealed that Johnson was a member of

Defendant NOI and Defendant NBPP. The Dallas Police Shooting was perpetrated by Johnson


13
    Tim Madigan, Michael E. Miller, Travis M. Andrews and Mark Berman, "Snipers kill five police
officers in Dallas, wound seven others during protest," The Washington Post,
July 8, 2016, accessible at: https://www.washingtonpost.com/news/morning-mix/wp/2016/07/08/like-a-
little-war-snipers-shoot-11-police-officers-during-dallas-protest-march-killing-five/?hpid=hp_rhp-top-
table-main_mm-dallas-1120pm-6a%3Ahomepage%2Fstory
14
   Peter Hasson, "Police: Dallas Suspect ‘Upset About Black Lives Matter,’ ‘Wanted To Kill White
People,’" Daily Caller, July 8, 2016, accessible at http://dailycaller.com/2016/07/08/police-dallas-suspect-
upset-about-black-lives-matter-wanted-to-kill-white-people/#ixzz4Dpv3nyCs
15
    Id.


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under the direction of Defendants NOI and NBPP, in furtherance of Defendants’ NOI and

NBPP’s historical and undeniable mission to incite violence against whites, and Jews in

particular.16

        40.     Additionally, Col. Derek Harvey (“Harvey”) determined that the BLM

Defendants, were directly and proximately responsible for the Dallas Police Shootings, as well as

the overall increase in violence against police officers. Harvey was the first Director of the

Afghanistan-Pakistan Center of Excellence at U.S. Central Command (CENTCOM) and a retired

United States Army Colonel. He was selected by General David Petraeus in 2009 to lead the new

organization. Harvey is a Senior Executive Service-member of the Defense Intelligence Agency

(DIA), and was the previous senior analytical specialist for Iraq to Petraeus, then Commander,

Multi-National Forces-Iraq.

        41.     Harvey stated on Fox News at 11:20 a.m. on July 8, 2016, that Black Lives Matter

directly caused and incited the shooting of 12 police officers in Dallas, Texas, on July 8, 2016.

        42.     Defendant George Soros (“Soros”) has served as the financier of the BLM

Defendants and other similar organizations with the goal of inciting a race war and inciting and

advocating deadly violence against law enforcement officers, Caucasians, and Jews. Soros has

given at least $33 million in one year to support of these organizations. 17

        43.     Defendants, each and every one of them, have engaged in a pattern and practice of

either directly inciting acts of violence against law enforcement officers, Caucasians, and Jews,

or using their positions of authority and influence to condone such behavior and spread the

message of hate and violence in order to incite a racial war in America.


16
   Pamela Geller, Dallas Mass Cop Murderer was Follower of Nation of Islam, July 8, 2016, available at:
http://pamelageller.com/2016/07/dallas-mass-cop-murderer-was-follower-of-nation-of-islam.html/
17
   Washington Times, George Soros Funds Ferguson Protests, Hopes to Spur Civil Action,
http://www.washingtontimes.com/news/2015/jan/14/george-soros-funds-ferguson-protests-hopes-to-spur/


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          A.    Defendant Louis Farrakhan

          44.     Defendant Louis Farrakhan (“Defendant Farrakhan”) is the current leader of

Defendant NOI, a group which has firmly established its deeply racist, anti-Semitic, and anti-gay

position, and has announced those positions publically through its actions and words.

          45.     In furtherance of the hateful and violent dogmatic beliefs and principles of

Defendant NOI, and of his own interests, Defendant Farrakhan has engaged in a pattern and

practice of advocating for and inciting deadly violence against law enforcement officers,

Caucasians, and Jews, as described in detail below.

          46.     On March 5, 2015, Defendant Farrakhan incited Black members of the U.S.

military to desert and engage in mutiny and violent insurrection against their country.

          47.     Specifically referring to the deaths of Michael Brown, Tamir Rice and Eric

Garner, among others, during encounters with the police, Farrakhan incited the crowd that day

that --

                  If the government cannot protect our lives … why are you in the
                  Armed Forces, fighting for a democracy that you don’t have at
                  home? Why are you in the Armed Forces of America going
                  overseas to fight somebody that never did a thing to you and act
                  pitiful when your own people are shot down in front of you?

                  And:

                  I’m calling on all the soldiers that fight for America, come home
                  and let’s unite and fight for our lives that the federal government
                  refuses to fight for us. Then we must fight for ourselves. 18




18
  Video of Farrakhan’s speech posted at: Billy Hallowell, ”Did Louis Farrakhan Just Call for Armed
Resistance? Minister’s Fiery Call to all ‘Black Soldiers in the U.S. Armed Forces’ to ‘Come Home, Unite
and Fight’,” March 5, 2015, accessible at http://www.theblaze.com/stories/2015/03/05/did-louis-
farrakhan-just-call-for-armed-resistance-ministers-fiery-call-to-all-black-soldiers-in-the-u-s-armed-forces-
to-come-home-unite-and-fight/#sthash.GoVh5b3s.dpuf


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       48.     During the speech, Farrakhan held up the deaths of Michael Brown, Tamir Rice

and Eric Garner as evidence that there is inequality in the treatment of black citizens, who must

therefore wage war against police officers.

       49.     Then Farrakhan reinforced this call for violence by sharing a link to the video of

his speech, which he had posted on Facebook, through his official Twitter account, with the

explanation, “Why I’m calling on all black soldiers in the U.S. Armed Forces to come home,

unite & fight for our own lives.”

       50.     Farrakhan’s incitement to armed conflict of black active-duty members of the

military to engage in armed insurrection against U.S. society also includes inciting black military

veterans.

       51.     On November 22, 2014, Farrakhan spoke to a packed auditorium at the Murphy

Fine Arts Center at Morgan State University in Baltimore, Maryland. More than 2,000 people

including students, community leaders and distinguished guests came to hear the lecture by the

81 one-year old Nation of Islam leader.19

       52.     During the speech, Louis Farrakhan urged retaliation by violent conflict for the

death of Michael Brown, a thief who was shot and killed by a Caucasian police officer in

Ferguson, Missouri.

       53.     Defendant Farrakhan explicitly and specifically sought to stop black community

leaders from discouraging the violent revolution, riots, and crime waves that he was calling for.

       54.     Defendant Farrakhan directed his attacks at other black leaders, but attacked them

for discouraging riots and violence:



19
  Askia Muhammad, "‘We need Minister Farrakhan’ say Black college students," The Final Call,
November 25, 2014, accessible at:
http://www.finalcall.com/artman/publish/National_News_2/article_101953.shtml


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               "But time has moved on. Your day of leading our people is over,"
               he said. Then he turned to his fellow preachers and repeated the
               admonition. "You preachers — your day of being the pacifier for
               the white man's tyranny on black people is over. You've got to
               know they're not going to hear you anymore."

       (Emphasis added.)20 Defendant Farrakhan condemned others for trying to prevent

violence.

       55.     Defendant Farrakhan called for further violence in Ferguson, Missouri, and

clarified his condemnation of other leaders who are trying to avoid the violence:

               "They know an explosion is going to come," the Nation of Islam
               leader said to cheers from the more than 2,000 people crowding the
               university's Murphy Fine Arts Center. "You leaders are the worst."

       56.     At one point, Defendant Farrakhan held up what resembled a Quran inside the

public school, saying that both the central religious text of Islam and the Bible require a “law of

retaliation” and the punishment of “a life for a life.”21

       57.     In response to Defendant Farrakhan’s calls for “a life for a life”, Ismaaiyl

Abdullah Brinsley (“Brinsley”) brutally executed two New York City police officers only 28

days after Farrakhan’s November 22, 2014, incitement to violence. Those two uniformed NYPD

officers were shot dead as they sat in their marked police car on a Brooklyn street corner by

Brinsley’s assassination-style mission to avenge Eric Garner and Michael Brown. There was no




20
   Doug Donovan, “Speaking at Morgan, Farrakhan predicts violence in Ferguson,” The Baltimore Sun,
November 22, 2014, http://www.baltimoresun.com/news/maryland/baltimore-city/bs-md-farrakhan-
morgan-20141122-story.html
21
   Eric Owens, “Louis Farrakhan Urged ‘Retaliation’ For Michael Brown A Month Before Ismaaiyl
Abdullah Brinsley Executed NYPD Cops,” Daily Caller, January 2, 2015, accessible at:
http://dailycaller.com/2015/01/02/louis-farrakhan-urged-retaliation-for-michael-brown-a-month-before-
nypd-cops-executed/


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warning, no provocation, no other interaction — the two police officers were simply

assassinated, targeted for wearing a police uniform.22

       58.     Just three hours before shooting of the two officers, vile anti-police threats were

posted to Brinsley’s Instagram page. The threats referenced the recent police-involved killings of

Eric Garner and Michael Brown. Brinsley wrote, “I’m Putting Wings on Pigs Today” and “They

Take 1 Of Ours . . . Let’s Take 2 of Theirs.”23

       59.     In August, 2015, Defendant Farrakhan delivered a speech at Mt. Zion Baptist

Church in Miami, Florida again inciting 10,000 black volunteers to mobilize and kill police

officers, Jews, and Caucasian Americans in retaliation of the oppression of black people.24

       60.     Defendant Farrakhan called for angry blacks to “stalk them and kill them” (Jews

and Caucasians) as the “400-year old enemy.”

       61.     Farrakhan explicitly incited “10,000 fearless men” to commit imminent violence

saying “rise up and kill those who kill us; stalk them and kill them and let them feel the pain of

death that we are feeling!”25

       62.     Referring to a million as being the “Million Man March” in Washington, D.C.,

Farrakhan further incited “I’m looking for 10,000 in the midst of a million. Ten thousand fearless
                                                                     26
men who say death is sweeter than continued life under tyranny.”




22
   Larry Celona, Shawn Cohen, Jamie Schram, Amber Jamieson and Laura Italiano, "Gunman executes 2
NYPD cops in Garner ‘revenge,’" The New York Post, December 20, 2014, accessible at:
http://nypost.com/2014/12/20/2-nypd-cops-shot-execution-style-in-brooklyn/
23
   Id.
24
   See also Farrakhan’s Facebook Page
https://www.facebook.com/OfficialMinisterFarrakhan/videos/vb.365178373589441/845109225596351/
25
   Pam Key, “Farrakhan: We Must Rise Up and Kill Those Who Kill Us; Stalk Them and Kill Them,”
Breitbart, August 4, 2015, accessible at http://www.breitbart.com/video/2015/08/04/farrakhan-we-must-
rise-up-and-kill-those-who-kill-us-stalk-them-and-kill-them/
26
   “Farrakhan speaks on 'Law of Retaliation,'” The Final Call - Uncompromised News & Perspectives,
August 3, 2015, accessible at: https://www.youtube.com/watch?v=Zr4bYXK7je8


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        63.     Farrakhan incited blacks, with an appeal of being heroes in the race war cause, to

“stalk them and kill them” referring to any and all Caucasians and especially police officers of all

races and ethnicities.

        64.     Defendant Farrakhan called for the imminent killing of police officers of all races

and ethnicities, Jews, and Caucasians when he demanded that “if the federal government will not

intercede in our affairs, then we must rise up and kill those who kill us, stalk them and let them

feel the pain of death that we are feeling!”27

        65.     Defendant Farrakhan further stated that “Death is sweeter than watching us

slaughter each other to the joy of a 400-year-old enemy. Death is sweeter. The Qur’an teaches

persecution is worse than slaughter then it says, retaliation is prescribed in matters of the slain.

Retaliation is a prescription from God to calm the breasts of those whose children have been

slain.”28

        66.     On June 24, 2015, appearing in the course of the same “Justice or Else! Tour” at

the Metropolitan African Methodist Episcopal church in Washington DC, Farrakhan gave an

impassioned speech denouncing America29 and aligning all white Americans with the sentiments

of the racist murderer in Charleston, South Carolina, Dylan Roof. 30

        67.     In his speech, Defendant Farrakhan explicitly called for murder, stating,

“Retaliation is a prescription from God to calm the breasts of those whose children have been


27
   Id.
28
   Richard B. Muhammad and Janiah Muhammad, "We are not asking for justice, we are demanding
justice," The Final Call, August 4, 2015, accessible at
http://www.finalcall.com/artman/publish/National_News_2/article_102517.shtml
29
   Gregory Tomlin, “'Stalk them and kill them,' Farrakhan says, calling for 10,000 volunteers to kill
whites,” Christian Examiner, August 5, 2015, accessible at
http://www.christianexaminer.com/article/farrakhan.calls.for.10000.volunteers.to.kill.whites/49329.htm.
30
   Matthew Maule, “Farrakhan Exploits Charleston Tragedy,” June 30, 2015,
http://www.christianpost.com/news/farrakhan-exploits-charleston-tragedy-
140998/#wwOk9TDoEa6wPVSr.99


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slain. So if the federal government will not intercede in our affairs, then we must rise up and kill

those who kill us. Stalk them and kill them and let them feel the pain of death that we are

feeling.”31

          68.     Defendant Farrakhan continued by saying, "Death is sweeter than watching us

slaughter each other to the joy of a 400 year old enemy. Death is sweet. The Quran teaches

persecution is worse than slaughter.”32

          69.     Speaking of the white people of Charleston that joined in the services, vigils, and

marches in sympathy with the black victims, Defendant Farrakhan shouted,

                  “White folks march with you because they don't want you
                  upsetting the city. They don't give a damn about them nine” [the
                  nine black church-goers murdered in a prayer meeting].

          70.     Because the Charleston, South Carolina, police fed the murderer, as required,

shortly after he was arrested, Defendant Farrakhan accused the Charleston police of supporting

the murders and praising the murderer Dylann Roof, slanderously proclaiming an inflammatory

lie, which Defendant Farrakhan knew to be false, but knew would incite violence:

                  “And you know what they [the police] were saying? 'You did a
                  good job killing all them [racial epithet].' You think they were
                  sympathetic? If they were sympathetic with us they would have
                  snatched him, put him in chains, had the gun on him."

          71.     In fact, news photographs show that the murderer Dylann Roof was arrested in

handcuffs by the Charleston, South Carolina police. Law enforcement cannot hold a criminal in

detention and deprive them of food. Yet Defendant Farrakhan sought to further lie to further

incite violence by claiming that feeding a suspect in jail awaiting trial means that the police

support, approve of, and assisted the murders by Dylann Roof



31
     Tomlin, supra note 24.
32
     Id.


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       72.       This speech received thunderous applause and cheers in the historic Metropolitan

AME Church in Washington D.C., called the “National Cathedral of African Methodism.”

       73.       That is, while all of Charleston, South Carolina’s churches and community

leaders were standing together in unity, appealing for calm, black and white pastors standing

side-by-side, Farrakhan was seeking to destroy any sense of unity, calm, or forgiveness.

       74.       Less than a month after Farrakhan’s speech, on August 26, 2015, a black male

named Bryce Williams (“Williams”) executed two of his Caucasian former co-workers filming a

tourism story at an idyllic lake in Moneta, Virginia, who worked for a small-town Roanoke,

Virginia news station, live on television and then posted disturbing first-person video of the

attack on social media.33

       75.       Williams was neither crazy nor acting out of anger but making a political

statement and hate crime. Demonstrating that Williams’ double homicide was part of the

political movement to effect a race war, Williams not only videotaped the entire incident in the

format of news coverage but also carefully waited until the news crew anchorman panned his

television camera, then broadcasting live, away from the lake and back to capture the murder live

on television.

       76.       Before Williams was caught by police, Williams took to Twitter to explain his

reasons for killing his former coworkers. Williams wrote that one of his victims made “racist

comments” and that a complaint was filed against her through the equal employment opportunity

commission, but his station chose to hire her anyway.



33
   Chris Pleasance and Ashley Collman, “Revenge race murder: Bitter black reporter who gunned down
white ex-colleagues live on air and posted the video online blames Charleston shootings and anti-gay
harassment in manifesto,” The Daily Mail, August 27, 2015, accessible at:
http://www.dailymail.co.uk/news/article-3211529/WDBJ7-reporter-Alison-Parker-Adam-Ward-shot-live-
TV-Moneta-gunman.html


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       77.     Also, after the deadly attack, Williams faxed a 23-page manifesto to media,

saying “Why did I do it? I put down a deposit for a gun on 6/19/15. The Church shooting in

Charleston happened on 6/17/15 . . ..” “What sent me over the top was the church shooting. And

my hollow point bullets have the victims’ initials on them.' 'As for Dylann Roof? You

[redacted]! You want a race war [redacted]? BRING IT THEN YOU WHITE . . . [redacted]!!!”

       78.     Williams’ manifesto and Twitter prove a direct nexus between Defendant

Farrakhan’s explicit calls for murder at his June 24, 2015 speech in Washington, D.C., where he

spoke about Dylann Roof.

       79.     Defendant Farrakhan includes Jews in his incitement against “the 400 year

enemy.” Defendant Farrakhan has alleged that the Jewish people were responsible for the slave

trade and that they conspire to control the government, the media, Hollywood, and various black

individuals and organizations. Farrakhan often promotes such messages at public speeches and

sermons, some of which attract thousands of followers.

       80.     During Part II of his 2015 Saviours’ Day keynote address at the Mosque Maryam

in Chicago, Illinois, Farrakhan alleged (again) that Israel and Jews orchestrated the 9/11 attacks

on the United States, claiming that “Israelis had foreknowledge of the attacks” and that Jews

were warned ahead of time not to come to work that day.

       81.     Farrakhan then went on to speak more broadly of Israeli control of the American

government, stating that Israel and Jews “don’t fear America because they control it from

within.”




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        82.     Defendant Farrakhan received a standing ovation after telling his audience that

“the Satanic Jews that control everything and mostly everybody, if they are your enemy, then

you must be somebody.”34

        83.     One of Defendant Farrakhan’s largest attempts to reach new audiences was a 58-

part online lecture series, started in January 2013 that lasted through February 2014. In the series,

Farrakhan frequently characterized Jews as “Satanic” and promoted a wide range of anti-Semitic

conspiracy theories, alleging Jewish control over government, finance, entertainment, and other

sectors. The lecture series, which received an average of about 40,000 views per sermon, is part

of a larger effort by the Nation of Islam’s media arm to spread its hate through a range of

propaganda, including through its newspaper and various social media sites.35

        84.     Defendant Farrakhan has attacked Judaism as a “gutter religion” and Israel as an

“outlaw” nation.36

        85.     According to The New York Times, Defendant Farrakhan has repeated for a

national television audience his description of Adolf Hitler as “a very great man.”37

        86.     Defendant Farrakhan’s speeches have resulted in the deaths of police officers and

law enforcement officials, Jews and Caucasians such as Plaintiff and other members of the class,

and, because of his enormous and very loyal followers, continue to cause imminent fear of harm




34
   “Farrakhan In His Own Words,” Anti-Defamation League, March 20, 2015, accessible at:
http://www.adl.org/anti-semitism/united-states/c/farrakhan-nation-of-islam-noi-in-his-own-words.html
35
   Id.
36
   “Jews Express Outrage at Farrakhan Calling Judaism ‘gutter Religion’, Israel Described As ‘outlaw’
State,” Jewish Telegraphic Agency, June 27, 1984, accessible at:
http://www.jta.org/1984/06/27/archive/jews-express-outrage-at-farrakhan-calling-judaism-gutter-religion-
israel-described-as-outlaw-st
37
   “Farrakhan Again Describes Hitler as a 'Very Great Man,'” The New York Times, July 17, 1984,
accessible at: http://www.nytimes.com/1984/07/17/us/farrakhan-again-describes-hitler-as-a-very-great-
man.html


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and actual harm through serious bodily injury or death to all police officers and law enforcement

persons of all races and ethnicities, Jews and Christians.

        B.      Defendant Nation of Islam

        87.     Defendant Farrakhan’s actions were taken in furtherance of the himself and

Defendant Nation of Islam (“Defendant NOI”), of which Defendant Farrakhan serves as

president.

        88.     Defendant NOI was founded in Detroit, Michigan, in on July 4, 1930. It has

grown into “one of the wealthiest and best-known organizations in black America,” which has

been fueled by “the deeply racist, anti-Semitic and anti-gay rhetoric of its leaders, including top

minister [Defendant] Louis Farrakhan.” 38

        89.     Defendant NOI has firmly established its deeply racist, anti-Semitic, and anti-gay

position, and has announced those positions publically through its actions and words. “While

Jews remain the primary target of Farrakhan's vitriol, he is also well known for bashing gay men

and lesbians, Catholics and, of course, the white devils, whom he calls "potential humans ...

[who] haven't evolved yet."39

        90.     Defendant NOI, in furtherance of its racist and anti-Semitic views, have even

associated with white supremacy groups in favor of racial separatism. “All of this has helped

make him attractive to certain white supremacist groups who agree that the races must be

separated. In its turn, NOI has come to view white supremacists as people who at least

understand NOI's program and could therefore become allies.”40




38
   Nation of Islam, Southern Poverty Law Center, https://www.splcenter.org/fighting-hate/extremist-
files/group/nation-islam
39
   Id.
40
   Id.


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        91.     Additionally, Defendant NOI, in furtherance of its racist and anti-Semitic views,

have been willing to tie themselves to “authoritarian and, in many cases, violently repressive

foreign leaders for the sake of furthering black and Islamic administrations worldwide. These

include Libyan dictator Muammar Ghadaffi, Zimbabwean leader Robert Mugabe, and the now

deceased General Muhammad Zia-ul-Haq of Pakistan and Ugandan despot Idi Amin.”41

        92.     In furtherance of its deeply racist, anti-Semitic views, Defendant NOI has called

for and incited violence, under the façade of “self-defense”. The great Dr. Martin Luther King

quickly realized this—referring to Defendant NOI as “a hate group arising in our midst that

would preach the doctrine of black supremacy.”42

        93.     In fact, Defendant NOI’s deeply racist, anti- Semitic, and anti-gay views and calls

to violence in furtherance thereof have undeniably caused many recent explosions of violence in

the name of Defendant NOI.

        94.     As set forth above, Johnson shot at a large group of police officers during the

recent Dallas Police Shooting, killing five and injuring nine. Johnson was a member of the

Defendant NOI, as confirmed through Johnson’s Facebook account. This is consistent with the

Defendant Farrakhan’s calls to violence and death amongst his disciples. An article called Dallas

Shooting: Time to Hold Nation of Islam Accountable by Ryan Mauro confirms that Johnson’s

actions were praised by the Nation of Islam. 43

        95.     Just hours before the Dallas Police Shooting, Defendant Farrakhan was publishing

racist endorsements of violence, saying, “When you are willing and not afraid anymore to pay

the price for freedom—don’t let this white man tell you that violence is wrong…He’s doing it as



41
   Id.
42
   Id.
43
   available at: http://m.clarionproject.org/analysis/dallas-shooting-time-hold-nation-islam-accountable


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we speak, and then he has the nerve to come and tell us that violence and hatred won’t get it” and

that Caucasians are “worthy to be hated.”44

       96.       On July 17, 2016, Gavin Eugene Long (“Long”) ambushed and shot six police

officers in Baton Rouge, Louisiana. Three of Long’s victims were killed. It has been revealed

that Long was a member of the Nation of Islam, as per Long’s own admission on his YouTube

channel.45 Consistent with Defendant Farrakhan’s calls to violence and death among his Nation

of Islam disciples, Long’s motivation behind his murders became apparent through his YouTube

channel and his “manifesto,” which revealed that Long was intent on targeting police officers.

Long referred to Johnson, the gunman who shot and killed five Dallas officers on July 7, 2016 as

“one of us.”46

       97.       In 2002, Allen Muhammad and Lee Malvo carried out a shooting spree which

killed 17 total persons and left an additional 10 persons injured in the Northern Virginia area.

Both snipers were members of the Nation of Islam, with Lee Malvo saying, “one of the reasons

for the shootings was that white people had tried to harm Louis Farrakhan, leader of the Nation

of Islam.”47

       98.       In fact, Defendant NOI was inextricably linked to one of the most heinous,

racially driven killing sprees in American history. Between the years of 1973 and 1976, four

members of Defendant NOI—J.C.X. Simon, Jessie Lee Cooks, Manuel Moore, and Larry Craig


44
   Id.
45
   Chuck Ross, Baton Rouge Shooter Gavin Eugene Long Was Nation of Islam Member, Railed Against
‘Crackers’ On YouTube Channel, Daily Caller, July 17, 2016, available at:
http://dailycaller.com/2016/07/17/baton-rouge-shooter-gavin-eugene-long-was-nation-of-islam-member-
railed-against-crackers-on-youtube-channel-video/
46
          Brian McBride, Investigators Scour Baton Rouge Gunman’s Social Media as Motive Remains
         Unknown, ABC News, July 18, 2016, available at http://abcnews.go.com/US/investigators-scour-
         baton-rouge-gunmans-social-media-motive/story?id=40657759
47
         Daniel Pipes, The Beltway Snipers’ Motives, August 19, 2003, available at
         http://www.danielpipes.org/blog/2003/08/the-beltway-snipers-motives


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Green—carried out a plan to “run all the whites out of San Francisco.”48 In furtherance of this

racist agenda, the four members of Defendant NOI “killed 14 people and left at least seven

wounded.”49 Perhaps the most heinous example of their actions was their brutal attack on Quita

and Richard Hague. “They sexually assaulted Mrs. Hague then struck her repeatedly with a

machete, ‘which nearly decapitated her.’ The attackers hacked at Mr. Hague and left him for

dead, but he survived.”50

         C.    Defendants National Action Network and Al Sharpton

         99.     Defendant Al Sharpton (“Defendant Sharpton”) is a supposed political activist

against racial prejudice and injustice.51 Defendant Sharpton founded Defendant National Action

Network (“Defendant NAN”) in 1991.52

         100.   Defendant Sharpton has persistently for many years made statements and

committed acts to incite and inflame the public, especially minority communities, to commit

attacks of violence, death, or serious bodily injury against the police and other law enforcement

persons of all races and ethnicities Jews, and Caucasians.

         101.   On April 10, 2015, Defendant Sharpton pushed the idea of using “civil rights”

laws to outlaw local police departments and create a “nationalized” police force. Defendant

Sharpton announced in 2015 that Defendant NAN would be taking up the cause of having the

U.S. Department of Justice taking over policing all across the country. Defendant Sharpton stated




48
         Lloys Billingsley, Remembering a Racist, Black Muslim Murder Spree, Front Page Mag,
         March 18, 2015, available at http://www.frontpagemag.com/fpm/253336/remembering-
         racist-black-muslim-murder-spree-lloyd-billingsley
49
     Id.
50
     Id.
51
     Al Sharpton, BIO, http://www.biography.com/people/al-sharpton-207640
52
     National Action Network, http://nationalactionnetwork.net/about/


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“That’s why we’re going to do this march from here to Washington. We need the Justice

Department to step in and take over policing in this country.”53

        102.   Since the deaths of Michael Brown and Eric Garner, Defendant Sharpton and his

agents have travelled across the mid-west and northeast to hold rallies and protest marches

inciting the blacks and others to undertake attacks causing death or serious bodily injury against

police officers and law enforcement of all races and ethnicities, Jews and Caucasians.54

        103.   Defendant Sharpton lead incendiary and inflammatory rallies in Ferguson,

Missouri, early on in the developing violence and incited the looting, arson, destruction of

property, assaults on police, threatening mobs, and violence.

        104.   In one of Defendant Sharpton’s rallies that occurred on December 15, 2014 in

New York City, marchers were chanting death threats to the police: “What do we want? Dead

cops! When do we want it! Now!”55 The protesters event assaulted two NYPD officers and

blocked traffic on the Brooklyn Bridge.56

        105.   On December 20, 2014, only five days after the hateful protest involving death

threats to the police, Brinsley executed two New York City police officers as they ate lunch

together in their police car, took place. As stated previously, Brinsley expressed that the police

shootings of Michael Brown and Eric Garner were the reason he planned to murder the two

police officers.57


53
    Brian Hayes, "Al Sharpton Wants to ‘End’ Local Policing, Demands NATIONALIZED Police Force,"
Top Right News, May 1, 2015, accessible at: http://toprightnews.com/al-sharpton-wants-to-end-local-
policing-demands-nationalized-police-force
54
    Video posted at: Geoffrey Grider, "Al Sharpton Incited Anti-Police Violence Now Seeks Police
Protection, December 22, 2014, accessible at: http://www.nowtheendbegins.com/blog/?p=29363
55
    ”Obama, Holder, Sharpton Stoke Flames, Ferguson Officers Shot,” Breitbart, March 12, 2015, supra.
56
    Warner Todd Huston, "Al Sharpton Leads March in DC as NYC Protesters Chant: ‘What Do We
Want? Dead Cops!,’" Breitbart, December 13, 2014, accessible at: http://www.breitbart.com/big-
government/2014/12/13/al-sharpton-leads-thousands-in-saturday-march-on-washington-dc/
57
   ”Obama, Holder, Sharpton Stoke Flames, Ferguson Officers Shot,” Breitbart, March 12, 2015, supra.


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        106.   In a similar protest, a march organized by Defendant NAN again chanted the oft-

heard slogan (and implied threat), “No Justice, No Peace” with marchers demanding that federal

laws be enacted to curb local and state police agencies use of force rules.

        107.   Once the thousands of marchers reached the grounds outside the New York

Capitol, Sharpton warned Congress that he and his supporters would not be ignored. “You

thought you’d sweep it under the rug. You thought there’d be no limelight,” Sharpton said. “We

are going to keep the light on Michael Brown, on Eric Garner, on Tamir Rice, on all of these

victims because the only way–I’m sorry, I come out of the ‘hood–the only way you make

roaches run, you got to cut the light on.”58

        108.   Defendant Sharpton’s incitement of violence and rioting have brought about

further discord and hatred in America. Defendant Sharpton has been a prime contributor of civil

unrest and violence in predominantly black urban communities.

        109.   Defendant Sharpton's actions and statements call for anarchy and encourage

blacks to ignore, disrespect, and engage law enforcement officials, namely Caucasian officers,

with violence and lethal force.59



58
    “Al Sharpton Leads March in DC as NYC Protesters Chant: ‘What Do We Want? Dead Cops!,’"
Breitbart, December 13, 2014, supra. Rep. Peter T. King (R-N.Y.) and former New York governor
George Patakihave blamed Sharpton for using rhetoric that they said fostered an anti-police environment.
Former New York City police commissioner Bernard Kerik said Sharpton and others had “blood on their
hands.” Sandhya Somashekhar and Wesley Lowery, "Sharpton faces criticism after NYC officers’
deaths," The Washington Post, December 23, 2014, accessible at:
http://www.washingtonpost.com/politics/sharpton-faces-criticism-after-nyc-officers-
deaths/2014/12/23/4ddeafd4-8ab6-11e4-8ff4-fb93129c9c8b_story.html
59
    https://www.change.org/p/patrick-murphy-remove-al-sharpton-from-white-house-advisory-team-and-
conduct-a-federal-investigation-to-charge-mr-sharpton-with-inciting-riots-promoting-violence-against-
law-enforcement-and-encouraging-civil-unrest-in-urban-communities-across-america. Former New York
City mayor Giuliani said himself that Defendant Sharpton has been to the white House as many as 85
times, and he blamed the “civil rights leader” for instigating riots and inflaming tensions between police
and the public. Giuliani also said Obama “hasn’t made strong comments” about the deaths of the New
York police officers. He further stated that “If you would like to have a poster boy for hating the police,
it’s Al Sharpton. You make Al Sharpton a close adviser, you’re going to turn the police in America


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        110.   Defendant Sharpton’s statements were intended to cause violence and/or death to

U.S. police officers of all races and ethnicity, Jews, and Caucasians. Defendant Sharpton is a

friend of and close confidant of President Obama and is thus a frequent visitor to the White

House, where he has and continues to participate in meetings designed for further a race war for

their join political missions and agendas. Defendant Sharpton is also a close friend, confidant,

and co-conspirator with Defendant Farrakhan and the other Defendants to the acts as pled herein.

        D.    Defendants Black Lives Matter, Opal Tometi, Patrisse Cullors, Alicia Garza,
              Rashad Turner, Johnetta Elzie, and Deray Mckesson

        111.   Defendant Black Lives Matter is a so called political project that was launched in

the wake of the murder of Trayvon Martin in order to supposedly combat implicit bias and anti-

black racism and to protect and affirm the beauty and dignity of all black lives.60

        112.   While Defendant Black Lives Matter claims to combat anti-black racism, the

movement has in fact incited and committed further violence, severe bodily injury and death

against police officers of all races and ethnicities, Jews, and Caucasians. Defendant Black Lives

Matter is in fact a violent and revolutionary criminal gang.

        113.   Dominique Alexander, who helped organize the July 7, 2016 “protest” that led to

the Dallas Police Shooting, was recently sentenced to five years in prison for probation

violations.61

        114.   Defendant BLM was created in response to the false propaganda deceptively and

fraudulently convincing blacks that they are being targeted by police officers and other law

enforcement personnel and are being disproportionately arrested and prosecuted.

against you.” http://www.ibtimes.com/obama-al-sharpton-relationship-shows-president-anti-cop-rudy-
giuliani-1768276.
60
   “BAJI’s Staff,” Black Alliance for Just Immigration, http://www.blackalliance.org/about/bajistaff/
61
   Naheed Rajwani, Judge Extends Dallas Activist Dominique Alexander’s Prison Sentence to 5 Years,
Dallas News, September 9, 2016, available at: http://www.dallasnews.com/news/local-news/20160909-
judge-extends-dallas-activist-dominique-alexander-s-prison-sentence-to-5-years.ece


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        115.   Defendant Black Lives Matter (“Defendant BLM”) was created by Defendants

Alicia Garza (“Defendant Garza”), Patrisse Cullors (“Defendant Cullors”), and Opal Tometi

(“Defendant Tometi”). Defendants Rashad Turner (“Defendant Turner”), Johnetta Elzie

(“Defendant Elzie”) and DeRay McKesson (“Defendant Mckesson”) are all leaders of Defendant

BLM.

        116.   Defendant BLM’s calls for and incitement of violence of death have undeniably

led to explosions of violence as a direct result.

        117.   In response to the incitement to violence of the Defendants, on September 2,

2015, Carlos Anthony Hollis, (“Hollis”) under the Twitter name of “black guy in avi,” broadcast

a message on Twitter saying: “IM NOT GONNA STAND FOR THIS NO. MORE. TONIGHT

WE PURGE! KILL ALL THE WHITE PPL IN THE TOWN OF LAPLATA

#BlackLivesMatter.”

        118.   Hollis, the Maryland man who called for the killing of white people in his town of

La Plata, announced that he would be killing white people in La Plata. In other words, in the

legal meaning of incitement, Hollis announced that he was heading out to kill white people and

urged others to come join him in this imminent violence.

        119.   Hollis was arrested the same day and charged with the issuance of deadly threats

against local citizens.

        120.   On July 7, 2016, Lakeem Keon Scott (“Scott”) shot at passing cars along a

Tennessee highway, killing one woman and wounding three others, including a police officer.62

Witnesses heard Scott yelling “police suck! Black lives matter!” as he opened fire.63 Police later


62
   Witness heard Bristol gunman yelling, ‘Police suck! Black lives matter!” as he opened fire, CNN Wire,
July 8, 2016, available at: http://wtvr.com/2016/07/08/bristol-gunman-lakeem-keon-scott-yelled-olice-
suck-black-lives-matter/
63
   Id.


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on found “Black Lives Matter” materials inside of Scott’s home.64 All of Scott’s victims were

Caucasian.65

        121.   On July 29, 2016 17-year old Marquell Rentas (“Rentas”) attempted to shoot and

kill four police officers in Columbia, Pennsylvania while his 18-year old cousin, Trenton Nace

(“Nace”), aided him.66 Rentas left no question as to his motivation, telling police “I was shooting

at you, F-you, police.”67 Rentas’ mother blames Black Lives Matter for indoctrinating her child

and inciting violence, saying. “[Rentas and Nace] are in jail for doing what Black Lives Matter

wanted them to do: shoot at cops. The truth is that these are two punk kids following the orders

of an irresponsible organization and now they’re going to pay for it.”68

        122.   In September, 2015, Joseph Thomas Johnson-Shanks (“Shanks”) shot and killed

Trooper Joseph Cameron Ponder after leading Kentucky State Polo lice on a high speed chase.69

Shanks’ Facebook account has conclusively shown that Shanks was an advocate of Black Lives

Matter, showing Shanks’ presence at protests and at Michael Brown’s funeral.

        123.   The term “purge” has been adopted by the Black Lives Matter movement,

referring to a recent movie “The Purge” depicting a society in which on one night a year all laws

are suspended and unlimited violence, looting, murder, assault, rape, etc. is allowed.



64
   Id.
65
   Mark Heim, Tennessee Highway Gunman Kills 1, Injures 3, Motivated by Police Shootings, Authorities
Said, AL, July 8, 2016, available at:
http://www.al.com/news/index.ssf/2016/07/tennessee_highway_gunman_motiv.html
66
   Joe Elias, Boy, 17, Charged with Trying to Shoot and Kill Four Lancaster County Police Officers, Penn
Live, July 30, 2016, available at:
http://www.pennlive.com/news/2016/07/boy_17_charged_with_trying_to.html
67
   Id.
68
   PA Mom Blames Black Lives Matter for Son Shooting Police, RT, August 3, 2016, available at:
https://www.rt.com/usa/354424-mom-blames-black-lives-matter-shooting-police/
69
   Nina Golgowski, Suspect in Kentucky Trooper’s Shooting Death Was a ‘Black Lives Matter’ Advocate
in St. Louis, Facebook Shows, NY Daily News, September 14, 2015, available at:
http://www.nydailynews.com/news/national/suspect-trooper-death-black-lives-matter-backer-article-
1.2360320


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           124.   The term “Purge” within the Black Lives Matter movement specifically refers to

lawless rioting, arson, murder, assault, looting, and rape carried out as perceived revenge against

anyone who has more, especially Jews or Caucasians, as a routine part of the movement.

           125.   In Ferguson, Missouri, after violent assaults by a repeat juvenile delinquent

Michael Brown upon an elderly shopkeeper and then upon police officer on August 9, 2014, the

BLM Defendants incited, instigated, and orchestrated violence, arson, looting, assault, and

rioting.

           126.   Residents of Ferguson, Missouri, reported that most of the violence, arson,

looting, assaults on police, and threatening behavior was committed by outsiders who came to

Ferguson from all over the United States, as far away as San Francisco and New York City. In

fact, records show that many of Defendant BLM’s Ferguson “protesters” were actually paid to be

there by Missourians Organizing for Reform and Empowerment, a branch of ACORN who has

supported Defendant BLM.70

           127.   On August 29, 2015, just a few days after Shannon J. Miles executed Deputy

Darren Goforth, a march was led under the Black Lives Matter movement in St. Paul, Minnesota.

           128.   During the march, protesters chanted in unison, “Pigs in a blanket, fry em’ like

bacon.” The chant was clearly meant to promote and cause severe bodily injury or death among

innocent police officers policers of all races and ethnicities, who were, ironically, at the march

to help protect the protestors’ free speech.71




70
   Jessica Chasmar, Hired Black Lives Matter Protesters Start #CutTheCheck After Being Stiffed by
ACORN Successor Group, Washington Times, May 19, 2015, available at
http://www.washingtontimes.com/news/2015/may/19/hired-black-lives-matter-protesters-start-cutthech/
71
   Bill Hudson, ”Black Lives Matter Chant Called ‘Disgusting’ By Police Leader,” CBS Minnesota,
August 30, 2015, accessible at: http://minnesota.cbslocal.com/2015/08/30/black-lives-matter-chant-
called-disgusting-by-police-leader/ ; https://www.youtube.com/watch?&v=9xNxoeqf0Ws


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       129.   Milwaukee County Sheriff David Clarke has openly expressed that Black Lives

Matter is a race baiting movement intended to create more division and segregation.72

       130.   In an appearance on CNN, Sheriff Clarke pointed out that Black Lives Matter

activists are directly tied to the brutal murder of Harris County, Texas deputy Darren Goforth. 73

       131.   Sheriff Clarke has described the Black Lives Matter movement as “vile, vulgar,

and slimy.”

       132.   In response, Sergeant Demetrick Pennie, Sheriff David Clarke and other African-

American members of law enforcement who have had the courage to speak out against the

hateful message of the BLM Defendants have been unfairly labeled by the BLM Defendants as

“sellout” and an “Uncle Tom.”74

       133.   For example, members of the #FYF911 or #FukYoFlag and #blackLivesMatter

movements called for the lynching and hanging of white people and cops.

       134.   The BLM Defendants have encouraged others on a radio show night to “turn the

tide” and kill white people and cops to send a message about the killing of black people in

America.75

       135.   Despite the fact that the BLM Defendants hold themselves out as fighting

injustice on behalf of all African Americans, many African Americans have seen through the

BLM Defendants’ façade and have instead joined the All Lives Matter movement. 76


72
    “Sheriff Clarke: Black Lives Matter Is A ’Vulgar, Vile, Vicious, Slimy Movement,’” Infowars.com,
September 1, 2015, supra.
73
    Id.
74
   Chuck Ross, Black Sheriff Responds To ‘Uncle Tom’ Taunt By New York Daily News Columnist And
Black Lives Matter Activist, Daily Caller, October 27, 2015, available
at: http://dailycaller.com/2015/10/27/black-sheriff-responds-to-uncle-tom-taunt-by-new-york-daily-news-
columnist-and-black-lives-matter-activist/#ixzz4JnWtmS5j
75
   Lana Shadwick, “Black Activists Call for Lynching and Hanging of White People and Cops,” Breitbart,
August 28, 2015, accessible at: http://www.breitbart.com/texas/2015/08/28/black-activists-called-for-
lynching-and-hanging-of-white-people-and-cops/


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       136.   A 27-year-old black Marine Michael Whaley explains in a video spreading

nation-wide and rebroadcast on Fox news: 77

               This Black Lives Matter movement only promotes racism and now
               they are encouraging black people to go and kill white people
               because they want white people to feel what we felt 400 years ago.
               All Lives Matter. That police officer that got killed by that black
               man because that black man listened to what y'all were saying
               about going out and killing white people. That police officer's life
               mattered. That nine-year old girl in Ferguson, Missouri, that got
               shot in the head while she was doing her homework, in a drive-by
               shooting, that none of y'all protested. Her life mattered. ... The
               reason that I don't got a lot of support is, I'm gonna tell you the
               God honest truth, the reason that I don't got a lot of support is
               because black people can't accept the truth about their-selves.
               Black people admitting to the truth is like they're snitching on
               their-selves. And black people have this no-snitching rule.
               They're gonna deny till they die.

               Y'all teaching black people to hate white people, and then you're
               encouraging black people to throw their lives down the drain by
               taking away somebody else's life. Sad. I'm gonna pray for y'all.


       137.   Michael Whaley explained further on Fox News on September 2, 2015, that

               Black on black crime happens every day. So if a black person goes
               and kills another black person, they gonna deny till they die.
               They’re not gonna admit the truth. Some people don’t like
               admitting the truth because they don’t like that. Like, it hurts me
               to say right there, it hurts me as a black man to say right here I
               have to tell the truth about my own people, but I love my own
               people.

       138.   On August 29, 2015, the mixed-race Guiding Light Church led a "Restoring Unity

Rally" and march in Birmingham, Alabama. On September 1, 2015, the mostly-black choir of




76
  www.alllivematter.com
77
  http://video.foxnews.com/v/4460311780001/black-americans-fight-back-against-black-lives-matter-
/?#sp=show-clips


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the church performed a hymn 'All Lives Matter' calling for unity and forgiveness by God's

grace.78

       E.       Defendants New Black Panther Party and Malik Zulu Shabazz

       139.   Defendant New Black Panther Party (“NBPP”) became active in or around the

year 1990.79 In 1994, Khalid Abdul Muhammad (“Muhammad”) became actively involved with

Defendant NBPP.80 Muhammad had previously been the personal assistant to Defendant

Farrakhan, but contentiously left after he was demoted from his position as national spokesman

for Defendant NOI after giving a speech where he called Jews “bloodsuckers” and called for the

murder of white South Africans who refused to leave South Africa.81

       140.   From the time that Muhammad joined Defendant NBPP, there existed a

contentious relationship between Defendants NOI and NBPP, whereby each hate group fought

the other for recruits, akin to Al-Qaeda and ISIS. In fact, Muhammad was shot and injured in

May, 1994 by a former Nation of Islam member.82

       141.   Defendant NBPP has deep and clearly-established anti-Semitic, anti-Caucasian

views, and Defendant NBPP routinely calls for the murder of individuals fitting those

descriptions.

       142.   As described in the preceding paragraphs of this Complaint, Johnson, who

perpetrated the Dallas Police Shooting, was a member of Defendant NBPP, as confirmed through




78
   http://video.foxnews.com/v/4456810813001/the-guiding-light-church-performs-all-lives-
matter/?#sp=show-clips
79
   Southern Poverty Law Center, Extremist Files: New Black Panther Party
80
   Id.
81
   Id.
82
   Id.


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his social media posts.83 Johnson carried out the Dallas Police Shooting under the direction of

Defendant NBPP and in furtherance of the hateful and violent dogmatic beliefs of Defendant

NBPP.

        143.   Defendant NBPP has threated Plaintiff Klayman’s life and the life of his family

after Plaintiff Klayman filed the original complaint, as discussed previously in the Complaint.

Plaintiff received a call from Defendant New Black Panther Party, saying, “you cracker…you

broke with the Black Panthers and the black lives matter and all black people in this country.

God probably alone. You should be worried about the [safety of] you[r] whole goddamn family.”

        144.   For instance, former NBPP chairman Muhammad has been quoted as saying

                 Our lessons talk about the bloodsuckers of the poor… . It's that old
                 no-good Jew, that old imposter Jew, that old hooked-nose, bagel-
                 eating, lox-eating, Johnny-come-lately, perpetrating-a-fraud, just-
                 crawled-out-of-the-caves-and-hills-of-Europe, so-called damn Jew
                 … and I feel everything I'm saying up here is kosher.84

        145.   Defendant NBPP has taken a stance so radical and violent that even the original

Black Panther Party has decried Defendant NBPP for being a hateful and unconstructive group.

Bobby Seale, one of the founders of the original Panthers, calls Defendant NBPP, “a black racist

hate group.”85

        146.   In 2001, Defendant Malik Zulu Shabazz (“Defendant Shabazz”) took over as

chairman of Defendant NBPP after Muhammad passed away.86 However, Defendant Shabazz

shares the same hateful and violent beliefs as his predecessor and mentor, Muhammad. On April




83
   Bob Price, Confirmed: Dallas Shooter Was Member of Houston New Black Panther Party, BrietBart,
July 8, 2016, available at: http://www.breitbart.com/texas/2016/07/08/confirmed-dallas-shooter-member-
houston-new-black-panther-party/
84
   Southern Poverty Law Center, supra note 77.
85
   Id.
86
   Id.


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20, 2002, Defendant Shabazz said, “Kill every goddamn Zionist in Israel! Goddamn little babies,

goddamn old ladies! Blow up Zionist supermarkets!"87

           147.   In March, 2012, a Florida leader of Defendant NBPP placed a $10,000 bounty on

George Zimmerman, who had killed Trayvon Martin. His rationalization was, “An eye for an

eye, a tooth for a tooth.”88

           148.     In January, 2009, the Philadelphia leader of Defendant NBPP, King Samir

Shabazz said:

                    I hate white people. All of them. Every last iota of a cracker, I hate
                    it. We didn't come out here to play today. There's too much serious
                    business going on in the black community to be out here sliding
                    through South Street with white, dirty, cracker whore bitches on
                    our arms, and we call ourselves black men. … What the hell is
                    wrong with you black man? You at a doomsday with a white girl
                    on your damn arm. We keep begging white people for freedom!
                    No wonder we not free! Your enemy cannot make you free, fool!
                    You want freedom? You going to have to kill some crackers! You
                    going to have to kill some of their babies!

           149.   Unlike his predecessor, Defendant Shabazz has been working to rekindle

Defendant NBPP’s relationship with Defendant Farrakhan and Defendant NOI. As of January,

2010, Defendant Shabazz was expressing approval of Defendant NOI and reiterating his

commitment to support its efforts.89 This is evidence that Johnson carried out the Dallas Police

Shooting at the direction of both Defendant NOI and Defendant NBPP.

           F.       Defendant George Soros

           150.   Defendant George Soros (“Defendant Soros”) is a billionaire financier who has

funded numerous radical, left wing groups, including “ACORN, Apollo Alliance, National

Council of La Raza, Tides Foundation, Huffington Post, Southern Poverty Law Center,


87
     Id.
88
     Id.
89
     Id.


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Soujourners, People for the American Way, Planned Parenthood, and the National Organization

for Women.” Defendant Soros is also a financial backer of “Media Matters for America”, a

leftist, radical publication. 90

        151.   Importantly, Defendant Soros is widely known as one of the primary financial

backers of the Black Lives Matter movement. Defendant Soros has contributed at least $650,000

directly in furtherance of the Black Lives Matter movement’s calls to violence and death.91

        152.   Defendant McKesson, a leader of Defendant BLM, even lives in the home of

Robin Wood, who is a board members of Defendant Soros’ Open Society Institute.92

        153.   Defendant Soros has given at least $33 million in one year to support various

groups, such as Black Lives Matters, who are serving to further the on-going racial war by

inciting racial violence. 93

        154.   Defendants Soros has gone so far as to pay over 80 individuals and organizations

to “protest” during the civil unrest that occurred in Ferguson, Missouri, in furtherance of the

violent and hateful incitements to violence perpetrated by his co-Defendants.94

        155.   Defendant Soros, who himself is of Jewish origin, is admittedly anti-Semitic.95

Defendant Soros and his father, Theodore, were both Nazi sympathizers and collaborators. In




90
   Human Events, Top 10 Reasons George Soros is Dangerous, http://humanevents.com/2011/04/02/top-
10-reasons-george-soros-is-dangerous/
91
   BrietBart, Hacked Soros Memo: $650,000 to Black Lives Matter, http://www.breitbart.com/big-
government/2016/08/16/hacked-soros-memo-baltimore-riots-provide-unique-opportunity-reform-police/
92
   Cozy: BLM Leader Lives in Home Owned by Soros’ Open Society Board Member,
http://www.theamericanmirror.com/blacklivesmatter-leader-deray-lives-home-owned-by-soros-
connected/
93
   Washington Times, George Soros Funds Ferguson Protests, Hopes to Spur Civil Action,
http://www.washingtontimes.com/news/2015/jan/14/george-soros-funds-ferguson-protests-hopes-to-spur/
94
   Paul Joseph Watson, Leaked List Shows Ferguson Protesters Paid By Soros Front Group, InfoWars,
May 19, 2016, available at: http://www.infowars.com/leaked-list-shows-ferguson-protesters-paid-by-
soros-front-group/
95
   George Soros, http://www.jewishvirtuallibrary.org/jsource/biography/Soros.html


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fact, “Soros betrayed other Jews and helped steal their property and send them to their tragic

deaths to spare himself.” 96

       156.   Defendant Soros is the driving force and primary financial backer of the Black

Lives Matter movement, and other related groups. Without Defendant Soros’ financial backing,

Black Lives Matter and other related groups would be unable to carry out their war against those

of Caucasian and Jewish descent and law enforcement officers.




96
  George Soros Says He Feels No Remorse For Collaborating With Nazis During WWII to Send His
Fellow Jews to the Death Camps, Steal Their Property, http://itmakessenseblog.com/2011/01/28/george-
soros-says-he-feels-no-remorse-for-collaborating-with-nazis-during-wwii-to-send-his-fellow-jews-to-the-
death-camps-steal-their-property/



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V.         CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION
                                         Wrongful Death

        157.   Plaintiff repeat and re-allege each and every allegation of the foregoing

paragraphs as if fully set forth herein.

        158.   Defendants’ acts, each and every one of them, of inciting and/or carrying out

actions of violence against police officers and law enforcement persons of all races and

ethnicities, Jews, and Caucasians were done with the intent to terrorize, threaten, intimidate, and

frighten the Plaintiffs and class members, as well as to actually commit acts of violence against

them.

        159.   The death of Patrick Zamarripa was a direct and proximate result of Defendants’

acts of inciting and/or carrying out actions of of violence against police officers and law

enforcement persons of all races and ethnicities, Jews, and Caucasians.

        160.   As set forth in the Complaint, Johnson, who murdered Patrick Zamarripa told

authorities that 'he was upset about the recent police shootings' and 'wanted to kill white people,

especially white officers.'”97 Johnson carried out this murder under the direction of Defendants

Farrakhan and NOI and NBPP, of which Johnson was a member, as well as Defendants Sharpton

and NAN. Defendants NOI and NBPP coordinated and directed the Dallas Police Shooting in

furtherance of the conspiracy with each and every Defendant to wage a war against law

enforcement officers, Caucasians, and Jews.



97
        Tim Madigan, Michael E. Miller, Travis M. Andrews and Mark Berman, "Snipers kill
five police officers in Dallas, wound seven others during protest," The Washington Post,
July 8, 2016, accessible at: https://www.washingtonpost.com/news/morning-
mix/wp/2016/07/08/like-a-little-war-snipers-shoot-11-police-officers-during-dallas-protest-
march-killing-five/?hpid=hp_rhp-top-table-main_mm-dallas-1120pm-
6a%3Ahomepage%2Fstory


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          161.   As a result of the death of Patrick Zamarripa, Plaintiff Zamarripa has suffered

pecuniary loss equaling the financial support the deceased would have been expected to provide,

in addition to loss of services, mental anguish, and pain and suffering.

          162.   Plaintiff is the father of Patrick Zamarripa, and is thereby entitled to bring this

action.

                                  SECOND CAUSE OF ACTION
                             Intentional Infliction of Emotional Distress

          163.   Plaintiff repeats and re-alleges each and every allegation of the foregoing

paragraphs as if fully set forth herein.

          164.   Defendants’, each and every one of them acting in concert, acts of inciting and/or

carrying out actions of violence against police officers and law enforcement persons of all races

and ethnicities, Jews, and Caucasians were done with the intent to terrorize, threaten, intimidate,

and frighten Plaintiff, as well as to actually commit acts of violence against them.

          165.   Defendants’ acts of promoting and/or carrying out actions of violence against

police officers and other law enforcement persons of all races and ethnicities, Jews, and

Caucasians were willful malicious, deliberate, or were done with reckless indifference to the

likelihood that such behavior would cause severe emotional distress and with utter disregard for

the consequences of such actions.

          166.   The acts of violence and murder set forth herein were committed with the

knowledge of and intention to cause extreme physical pain and suffering to any and all persons

within close proximity of the attack and extreme emotional distress to the Plaintiff and other

members of the class herein and/or family members of those who were killed or injured by

reason of those acts, or were done with reckless indifference to the likelihood that such behavior




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would cause such severe emotional distress and with utter disregard for the consequences of such

actions.

       167.   Defendants’ conduct, each and every one of them, jointly and severally, was

unreasonable and outrageous and exceeds the bounds usually tolerated by decent society, and

was done willfully, maliciously and deliberately, or with reckless indifference, to cause Plaintiff

severe mental and emotional pain, distress, and anguish and loss of enjoyment of life.

       168.   By reason of the wrongful conduct of Defendants, Plaintiff has suffered conscious

pain, suffering, severe emotional distress and the fear of imminent serious bodily injury or death,

and have suffered pecuniary and economic damage, loss of support, loss of nurture, care and

guidance, grief, anguish, loss of services, loss of society, and other mental and physical injuries.

       169.   Defendants, each and every one of them, conspiring and/or acting in concert,

jointly and severally, undertook their actions willfully, wantonly, maliciously and in reckless

disregard for Plaintiff’s rights, and as a direct, foreseeable, and proximate result thereof plaintiffs

suffered economic and emotional damage in a total amount to be proven at trial, therefore

plaintiffs seeks punitive damages in an amount sufficient to deter Defendants and others from

similar future wrongful conduct.

                                       PRAYER FOR RELIEF

       Plaintiffs demands that judgment be entered against Defendants, each and every one of

them, jointly and severally, for compensatory and actual damages because of their demonstrable

physical and emotional injury to Plaintiff, punitive damages because of Defendants’ callous and

reckless indifference and malicious acts, and attorney’s fees, costs, an award of actual and

compensatory damages in excess of $90,000,000, punitive damages in excess of $550,000,000,

and such other relief the Court may deem just and proper.




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                                          JURY DEMAND

      Plaintiff respectfully demands a jury trial on all issues so triable.


Dated: November 7, 2016
                                                      Respectfully submitted,
                                                      /s/ Larry Klayman
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